                                                                                       EXHIBIT C
                                                                          Eliseo Puig
                                                                          +1 303.863.2360 Direct
                                                                          Eliseo.Puig@arnoldporter.com




                                                        October 4, 2024


     BY EMAIL

     Mark E. Anderson
     McGuire Woods
     501 Fayetteville St.
     Suite 500
     Raleigh, NC 27601

     Bradley R. Kutrow
     Brian A. Kahn
     Anita M. Foss
     McGuire Woods
     201 North Tryon Street
     Suite 3000
     Charlotte, NC 28202


              Re:     FS Medical Supplies, LLC v. TannerGAP, Inc., et al., No. 21-cv-0501
                      (W.D.N.C.).

     Dear Counsel:

            I write to request that Defendants reconsider their refusal to properly collect and
     search ESI from Jonathan Bracey’s mobile phone.

            As you know, we questioned Mr. Bracey during his deposition about his
     willingness to submit his phone for forensic imaging. Notwithstanding Defendants’
     contrary representations in their response to our motion to compel, Mr. Bracey made clear
     he does not object to the collection of work-related text messages from the device:

              Q. If your counsel could ensure that no materials on your phone that are
              unrelated to your work at Tanner are provided to us in discovery, is that
              something that you would object to?



Arnold & Porter Kaye Scholer LLP
1144 Fifteenth Street, Suite 3100 | Denver, CO 80202-2569 | www.arnoldporter.com
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       A. If everything was just related to the emails and WhatsApp and text
       messages on -- between me and Tanner, then that’s fine. You can look at
       them now, if you want.

       Q. So you would not have any problem if your counsel electronically
       collected text messages and emails from your device, provided that they
       committed not to turn over to us any records that they’d collected that are
       unrelated to your work at Tanner?

       A. Yeah.

        It is difficult to understand why Defendants have resisted a proper collection of ESI
from Mr. Bracey’s phone, especially in light of Mr. Bracey’s recent testimony. In addition
to being a clear violation of the parties’ ESI protocol, the refusal to properly collect and
search ESI from Mr. Bracey’s device has required us to spend dozens of hours and many
thousands of dollars attempting to bring Defendants into compliance with their discovery
obligations. It also has burdened the Court with motions practice that could have been
avoided had Defendants lived up to their commitments.

        Despite our disappointment, we are committed to working cooperatively to resolve
this issue. Following Mr. Bracey’s deposition, we again consulted with our e-discovery
vendor. As set forth in the enclosed declaration—and as we have explained to you before—
it is possible to collect text messages between Mr. Bracey and his Tanner colleagues
without exposing personal communications or data unrelated to his work. The procedure
involves using a computer to write a forensic image of Mr. Bracey’s phone to an encrypted
external drive, filtering and isolating communications with Mr. Bracey’s Tanner colleagues
at the point of collection, and permanently destroying the complete forensic extraction at
the end of the process. Doing so would ensure—as Mr. Bracey desires—that any data
extracted by the vendor and ultimately produced would be limited to messages related to
his work at Tanner.

       We hope and expect this declaration will resolve the dispute. Please let us know by
October 8, 2024 whether Defendants will agree to collect and search the Bracey ESI as
required by the ESI protocol.




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                                  Best regards,



                                  Eliseo Puig



Cc: Counsel of record




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